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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                       Criminal Action No. 21-0004 (CKK)
 LONNIE LEROY COFFMAN,
              Defendant


                                             ORDER
                                        (January 13, 2021)

       Pursuant to the Due Process Protections Act, PL 116-192, October 21, 2020, 134 Stat.

894, and Local Rule of Criminal Procedure 5.1, this ORDER confirms the disclosure obligation

of the government under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and the

possible consequences of violating such order under applicable law.

      (a) Unless the parties otherwise agree and where not prohibited by law, the
          government shall disclose to the defense all information “favorable to an
          accused” that is “material either to guilt or to punishment” under Brady v.
          Maryland, 373 U.S. 83, 87 (1963), and that is known to the government. This
          requirement applies regardless of whether the information would itself constitute
          admissible evidence. The information, furthermore, shall be produced in a
          reasonably usable form unless that is impracticable; in such a circumstance, it
          shall be made available to the defense for inspection and copying. Beginning at
          the defendant's arraignment and continuing throughout the criminal proceeding,
          the government shall make good-faith efforts to disclose such information to the
          defense as soon as reasonably possible after its existence is known, so as to
          enable the defense to make effective use of the disclosed information in the
          preparation of its case.
      (b) The information to be disclosed under (a) includes, but is not limited to:
                (1) Information that is inconsistent with or tends to negate the defendant's
                    guilt as to any element, including identification, of the offense(s) with
                    which the defendant is charged;
                (2) Information that tends to mitigate the charged offense(s) or reduce the
                    potential penalty;
                (3) Information that tends to establish an articulated and legally cognizable
                    defense theory or recognized affirmative defense to the offense(s) with
                    which the defendant is charged;

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            (4) Information that casts doubt on the credibility or accuracy of any
                evidence, including witness testimony, the government anticipates using in
                its case-in-chief at trial; and
            (5) Impeachment information, which includes but is not limited to: (i)
                information regarding whether any promise, reward, or inducement has
                been given by the government to any witness it anticipates calling in its
                case-in-chief; and (ii) information that identifies all pending criminal cases
                against, and all criminal convictions of, any such witness.
    (c) As impeachment information described in (b)(S) and witness-credibility
        information described in (b)(4) are dependent on which witnesses the government
        intends to call at trial, this rule does not require the government to disclose such
        information before a trial date is set.
    (d) In the event the government believes that a disclosure under this rule would
        compromise witness safety, victim rights, national security, a sensitive law-
        enforcement technique, or any other substantial government interest, it may apply
        to the Court for a modification of the requirements of this rule, which may include
        in camera review and/or withholding or subjecting to a protective order all or part
        of the information.
    (e) For purposes of this rule, the government includes federal, state, and local law
        enforcement officers and other government officials who have participated in the
        investigation and prosecution of the offense(s) with which the defendant is
        charged. The government has an obligation to seek from these sources all
        information subject to disclosure under this Rule.
    (f) The Court may set specific timelines for disclosure of any information
        encompassed by this rule.
    (g) If the government fails to comply with this rule, the Court, in addition to ordering
        production of the information, may:
            (1) specify the terms and conditions of such production;
            (2) grant a continuance;
            (3) impose evidentiary sanctions; or
            (4) enter any other order that is just under the circumstances.


SO ORDERED.
                                                   /s/
                                                 COLLEEN KOLLAR-KOTELLY
                                                 United States District Judge



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